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 2   Nevada State Bar No. 11479
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 7
 8                                UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
     United States of America,                             Case No. 2:16-cr-00286-GMN-PAL
11
                     Plaintiff,                         Stipulation to Waive Defendant’s Initial
12                                                        Appearance with a Magistrate Judge
13          v.                                           and Appear for the Initial Appearance
                                                            and Revocation Hearing with the
14   Marcus Albert,                                               District Court Judge
15                   Defendant.
16
17
            Marcus Albert has a pending petition for revocation of supervised release before this
18
     Court. ECF 7. On October 28, 2020, Mr. Albert was sentenced to 54 months in custody in a
19
     new case out of the District of North Dakota.1 For reasons of judicial economy and to avoid
20
     unnecessary travel and potential exposure to COVID-1, Mr. Albert requests that his initial
21
     appearance on that petition take place remotely, before the Honorable District Court Judge
22
     Navarro, on Wednesday January 13, 2021 at 2:00 p.m. Pacific time or at another date and
23
     time convenient to this Court. Mr. Albert recognizes that his current custodial sentence in a
24
     new matter in the District of North Dakota would preclude his release, so concedes that he
25
26
            1
                1:18-cr-00126-DLH (North Dakota).
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1    will be detained by this Court without a preliminary hearing. Mr. Albert requests that this

2    Court proceed to the final revocation hearing on the petition and addendum immediately after

3    his initial appearance, Mr. Albert tried to have his Nevada supervised release case transferred

4    to North Dakota for a global resolution.2 The parties in Nevada have been in contact with
5    their counter parts in North Dakota. Mr. Albert is currently housed in a contract facility in
6    Washington County, Colorado. The Colorado facility supports Zoom hearings. The
7    Coronavirus Aid, Relief, and Economic Security (CARES) Act, as implemented through this

8    District’s Third Amended Temporary General Order of November 12, 2020, “authorize[s] the
9    use of video teleconferencing, or telephone conferencing if video teleconferencing is not
10   reasonably available” for supervised release revocation proceedings. CARES Act,
11   § 15002(b)(1)(F), Pub. L. 116-136, 134 Stat 281 (Mar. 27, 2020). Mr. Albert requests that he

12   be allowed to appear via Zoom from this facility to make both his initial appearance and for

13   the final revocation of his supervision. Allowing him to appear via Zoom will expedite the
14   resolution of this pending matter.
15            The United State Probation Office in this District and the U.S. Attorney’s Office do not
16   oppose Mr. Albert’s requests. The parties anticipate that all factual matters will be resolved by
17   stipulation and expect to make a joint sentencing recommendation to this Honorable Court.
18            DATED: January 8, 2021
                                                             NICHOLAS A. TRUTANICH,
19       Respectfully submitted,
                                                             United States Attorney
20
     Counsel for the Defendant                               /s/ Daniel J Cowhig
21   Marcus Albert
     /s/ Rebecca Levy                                        Daniel J. Cowhig
22                                                           Assistant United States Attorney
         Rebecca Levy
23
         Assistant Federal Public Defender
24
                                                 IT IS SO ORDERED.
25
                                                            11 day of January, 2021.
                                                 Dated this ____
26



                                                 ___________________________
                                                 Gloria M. Navarro, District Judge
                                                 UNITED STATES DISTRICT COURT
     2
         1:18-mj-00254-CSM (North Dakota) ECF No(s). 9 & 12.
                                                       2
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 1                           CERTIFICATE OF ELECTRONIC SERVICE

 2             The undersigned hereby certifies that she is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to serve
 4   papers.
 5             That on January 8, 2021, she served an electronic copy of this Stipulation to Waive
 6   Defendant’s Initial Appearance with a Magistrate Judge and Appear for the Initial
 7   Appearance and Revocation Hearing with the District Court Judge by electronic service
 8   (ECF) to the person named below:
 9
                      NICHOLAS TRUTANICH
10                    United States Attorney
11                    DANIEL COWHIG
                      Assistant United States Attorney
12                    501 Las Vegas Blvd. South
                      Suite 1100
13                    Las Vegas, NV 89101
14
15                                                       /s/ Brandon Thomas
                                                         Employee of the Federal Public Defender
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